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                     1                                CERTIFICATE OF SERVICE

                     2         Pursuant to FRCP 5(b), I certify that I am an employee of ROBISON, SHARP,
                         SULLIVAN & BRUST, and that on this date I caused to be served a true copy of the
                     3   attached VERIFIED PETITION FOR PERMISSION TO PRACTICE IN THIS CASE ONLY
                     4   BY ATTORNEY NOT ADMITTED TO THE BAR OF THIS COURT AND DESIGNATION
                         OF LOCAL COUNSEL on all parties to this action by the method(s) indicated below:
                     5
                         ____         by placing an original or true copy thereof in a sealed envelope, with
                     6                sufficient postage affixed thereto, in the United States mail at Reno,
                                      Nevada, addressed to:
                     7
                     8                John J Frankovich
                                      Leigh T Goddard
                     9                McDonald Carano Wilson LLP
                                      100 West Liberty Street, 10th Floor
                    10                P.O. Box 2670
                    11                Reno, NV 89505-2670

                    12                Kevin P.B. Johnson
                                      Ray R Zado
                    13                Sam S. Stake
                    14                Quinn Emanuel Urquhart & Sullivan, LLP
                                      555 Twin Dolphin Drive, 5th Floor
                    15                Redwood Shores, CA 94065

                    16                Sam S. Stake
                                      Quinn Emanuel Urquhart & Sullivan, LLP
                    17
                                      50 California Street, 22nd Floor
                    18                San Francisco, CA 94111

                    19                Attorneys for Defendant Salesforce.com, Inc.
                    20
                         ____         by personal delivery/hand delivery addressed to:
                    21
                         ____         by email addressed to:
                    22
                                      John J. Frankovich:        jfrankovich@mcdonaldcarano.com
                    23                Leigh T. Goddard:          lgoddard@mcdonaldcarano.com
                    24                Kevin P.B. Johnson:        kevinjohnson@quinnemanuel.com
                                      Ray R. Zado:               rayzado@quinnemanuel.com
                    25                Sam Stake:                 samstake@quinnemanuel.com
                    26     X          by using the Court’s CM/ECF Electronic Notification System.
                    27
                                DATED this 5th day of October, 2020.
                    28
Robison, Sharp,                                           /s/ Monica R. Wilmoth
Sullivan & Brust
71 Washington St.                                         Employee of Robison, Sharp, Sullivan & Brust
Reno, NV 89503
(775) 329-3151

                                                                   1
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               EXHIBIT 1
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